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                  DISTRICT COURT OF THE VIRGIN ISLANDS

                              DIVISION OF ST. CROIX
                                          5
UNITED STATES OF AMERICA,                 5
                                          5
                        Plaintiff,        5           1:06-cr-30-03
      v.                                  5
                                          5
ST. CLAIR LIBURD,                         5
                                          5
                        Defendant.        5
__________________________________________5



TO:   Alphonso G. Andrews, Jr., Esq., AUSA
      Jeffrey B.C. Moorhead, Esq.



                                       ORDER

      THIS MATTER is before the Court upon Defendant Liburd’s Renewed Motion For

Interim Payment (Docket No. 896). This order is issued without necessity of response.

      Having reviewed the said motion and the record herein, the Court notes that counsel

for Defendant filed an identical motion (Docket No. 890) on October 13, 2009, which was

granted by Order (Docket No. 891), entered October 15, 2009.

      Accordingly, it is hereby ORDERED that Defendant Liburd’s Renewed Motion For

Interim Payment (Docket No. 896) is DENIED AS MOOT.

                                               ENTER:

Dated: October 20, 2009                        /s/ George W. Cannon, Jr.
                                               GEORGE W. CANNON, JR.
                                               U.S. MAGISTRATE JUDGE
